      Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 1 of 17



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


NICHOLAS SKIADAS, individually and on behalf
of all others similarly situated,

                        Plaintiffs,
                                               Case No. 1:19-CV-6137-GHW
            -against-
                                               Oral Argument Requested
ACER THERAPEUTICS INC., CHRIS
SCHELLING, and HARRY PALMIN,

                        Defendants.



   DEFENDANTS’ MOTION FOR RECONSIDERATION OF THE JUNE 16, 2020
        MEMORANDUM OPINION AND ORDER ON DEFENDANTS’
       MOTION TO DISMISS THE SECOND AMENDED COMPLAINT


                                          MORRISON & FOERSTER LLP

                                          Jamie A. Levitt
                                          Lauren M. Gambier
                                          250 West 55th Street
                                          New York, New York 10019
                                          Telephone: (212) 468-8000
                                          Facsimile: (212) 468-7900
                                          Email: JLevitt@mofo.com
                                                 LGambier@mofo.com

                                          Jordan Eth (admitted pro hac vice)
                                          425 Market Street
                                          San Francisco, California 94105
                                          Telephone: (415) 268-7000
                                          Facsimile: (415) 268-7522
                                          Email: JEth@mofo.com

                                          Attorneys for Defendants Acer Therapeutics
                                          Inc., Chris Schelling, and Harry Palmin
            Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 2 of 17


                                                   TABLE OF CONTENTS

                                                                                                                                       Page


PRELIMINARY STATEMENT ................................................................................................... 1
ARGUMENT ................................................................................................................................. 3
I.        THE ORDER APPLIES THE WRONG STANDARD FOR ASSESSING
          FALSITY AND IGNORES CONTROLLING LAW........................................................ 3
II.       THE ORDER ALSO APPLIES THE WRONG STANDARD FOR ASSESSING
          SCIENTER AND IGNORES CONTROLLING LAW ..................................................... 6
          A.         The Ruling that Plaintiff Adequately Pled Motive Based on Allegations of
                     Defendants’ Need to Raise Capital is Clear Error ................................................. 6
          B.         The Order’s Reliance on a “Plausibility” Standard to Infer Scienter is Also
                     Clear Error ............................................................................................................. 8
CONCLUSION ............................................................................................................................ 13




                                                                       i
           Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 3 of 17




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)

Cases

In re Avon Sec. Litig.,
    No. 91-CV-2287(LMM), 2004 WL 3761563 (S.D.N.Y. Mar. 29, 2004) ................................10

Campaniello Imports, Ltd. v. Saporiti Italia S.p.A.,
  117 F.3d 655 (2d Cir. 1997).....................................................................................................10

Coronel v. Quanta Capital Holdings Ltd.,
   No. 07-CV-1405(RPP), 2009 WL 174656 (S.D.N.Y. Jan. 26, 2009)........................................7

In re Elan Corp. Sec. Litig.,
    543 F. Supp. 2d 187 (S.D.N.Y. 2008)........................................................................................7

Frater v. Hemispherx Biopharma, Inc.,
   996 F. Supp. 2d 335 (E.D. Pa. 2014) .....................................................................................2, 8

Gillis v. QRX Pharma Ltd.,
    197 F. Supp. 3d 557 (S.D.N.Y. 2016)......................................................................................12

Gissin v. Endres,
   739 F. Supp. 2d 488 (S.D.N.Y. 2010)........................................................................................7

Hawaii Structural Ironworkers Pension Trust Fund v.
  AMC Entm’t Holdings, Inc.,
  422 F. Supp. 3d 821 (S.D.N.Y. 2019)........................................................................................7

Kalnit v. Eichler,
   264 F.3d 131 (2d Cir. 2001)...................................................................................................1, 8

Kelly v. Elec. Arts, Inc.,
   No. 13-CV-05837(SI), 2015 WL 1967233 (N.D. Cal. Apr. 30, 2015) ......................................5

Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Trust,
   729 F.3d 99 (2d Cir. 2013).........................................................................................................3

Lomingkit v. Apollo Educ. Grp. Inc.,
   275 F. Supp. 3d 1139 (D. Ariz. 2017) .......................................................................................5

In re Loral Space & Commc’ns Ltd. Sec. Litig.,
    No. 01-CV-4388(JGK), 2004 WL 376442 (S.D.N.Y. Feb. 27, 2004) .....................................12

In re Mannkind Secs. Actions,
    835 F. Supp. 2d 797 (C.D. Cal. 2011) .........................................................................1, 2, 3, 10

                                                                  ii
           Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 4 of 17




Nguyen v. Endologix, Inc.,
   No. 18-56322, 2020 WL 3069776 (9th Cir. Jun. 10, 2020) .......................................1, 3, 11, 12

In re OSG Sec. Litig.,
    971 F. Supp. 2d 387 (S.D.N.Y. 2013)........................................................................................7

In re PXRE Grp., Ltd., Sec. Litig.,
    600 F. Supp. 2d 510 (S.D.N.Y.),
    aff’d sub nom., Condra v. PXRE Grp. Ltd., 357 F. App’x 393 (2d Cir. 2009) ..........................7

Rombach v. Chang,
   355 F.3d 164 (2d Cir. 2004)...................................................................................................1, 4

S. Cherry Street, LLC v. Hennessee Grp.,
    573 F.3d 98 (2d Cir. 2009).........................................................................................................9

Shields v. Citytrust Bancorp, Inc.,
    25 F.3d 1124 (2d Cir. 1994).....................................................................................................12

Smith v. Antares Pharma, Inc.,
   No. 17-CA-8945(MAS)(DEA), 2019 WL 2785600 (D.N.J. July 2, 2019) ...............................5

Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital Inc.,
   531 F.3d 190 (2d Cir. 2008).....................................................................................................10

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) ......................................................................................................... passim

Umbach v. Carrington Inv. Partners,
  No. 3:08-CV-484(EBB), 2009 WL 413346 (D. Conn. Feb. 18, 2009) .............................1, 4, 5

Welgus v. TriNet Grp., Inc.,
   No. 15-CV-03625(BLF), 2017 WL 6466264 (N.D. Cal. Dec. 18, 2017),
   aff’d, 765 F. App’x 239 (9th Cir. 2019) .....................................................................................5




                                                                  iii
          Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 5 of 17




                                 PRELIMINARY STATEMENT

          Defendants Acer Therapeutics Inc. (“Acer”), Chris Schelling, and Harry Palmin

(collectively, “Defendants”) ask this Court to reconsider its Order dated June 16, 2020 (Dkt. 54)

(the “Order”) denying in part Defendants’ motion to dismiss. Defendants respectfully submit

that the Order contains several instances of clear error. The Order:

                 Relied incorrectly on a District of Connecticut case addressing reasonable
                  reliance, not falsity, Umbach v. Carrington Inv. Partners, No. 3:08-CV-
                  484(EBB), 2009 WL 413346 (D. Conn. Feb. 18, 2009), as the sole legal authority
                  for its erroneous holding that ambiguity can suffice to plead falsity;

                 Applied an incorrect standard for assessing allegations of motive for purposes of
                  pleading scienter, contrary to a long line of Second Circuit cases, including
                  Kalnit v. Eichler, 264 F.3d 131 (2d Cir. 2001); and

                 Used an incorrect “plausibility” standard for pleading scienter, contrary to the
                  Supreme Court’s decision in Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551
                  U.S. 308 (2007). And while the Court relied heavily on In re Mannkind Secs.
                  Actions, 835 F. Supp. 2d 797 (C.D. Cal. 2011), to find plausibility, recent
                  authority from the Ninth Circuit, Nguyen v. Endologix, Inc., No. 18-56322, 2020
                  WL 3069776 (9th Cir. Jun. 10, 2020), rejected plausibility on allegations very
                  close to those here.

Correction of any one of these errors supports dismissal of the remaining claims in this case.

Falsity

          Despite holding that “context weighs in favor” of Defendants’ interpretation of the

challenged statements (Dkt. 54, at 16-17), the Order erroneously held that Plaintiff had

adequately pled the statements were false, finding that “[b]ecause the challenged statements are

ambiguous, the Court cannot dismiss [Plaintiff’s] claims based on those statements as a matter of

law.” (Dkt. 54, at 17 (citing Umbach, 2009 WL 413346, at *6).) This is clear error. In the

Second Circuit, under the heightened pleading standards of Rule 9(b) and the Private Securities

Litigation Reform Act (“PSLRA”), statements are false when “taken together and in context

[they] would have misled a reasonable investor.” Rombach v. Chang, 355 F.3d 164, 172 n.7 (2d
            Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 6 of 17




Cir. 2004) (emphasis added). Neither Plaintiff nor the Court cited any cases calling this Second

Circuit authority into doubt, nor any authority to support the novel proposition that ambiguity

constitutes falsity for purposes of pleading federal securities fraud. It does not, and the clause

the Order cites from Umbach—a case Plaintiff never cited—addresses reasonable reliance, not

falsity.

Scienter

           The Order also made two crucial errors in assessing the adequacy of Plaintiff’s scienter

allegations. First, on the issue of motive to commit fraud, the Court disregarded the controlling

law cited by Defendants (Dkt. 50, at 18-19; Dkt. 53, at 7-8) and instead relied on Frater v.

Hemispherx Biopharma, Inc., 996 F. Supp. 2d 335 (E.D. Pa. 2014), an Eastern District of

Pennsylvania decision, to erroneously hold that Defendants were motivated to commit fraud by

virtue of their need to raise capital to avoid bankruptcy. (Dkt. 54, at 21.) Notably, Frater does

not stand for this proposition, and it is also contravened by extensive clear and controlling

authority from this Circuit holding that a motive to raise money, even when needed to avoid

bankruptcy or to ensure the survival of a company, does not create an inference of scienter.

           Second, the Order repeatedly stated that Plaintiff alleged a “plausible” inference of

scienter. But that is not the standard under the PSLRA and controlling law. The Supreme Court

has expressly held that “an inference of scienter must be more than merely plausible or

reasonable—it must be cogent and at least as compelling as any opposing inference of

nonfraudulent intent.” Tellabs, 551 U.S. at 309 (emphasis added). Furthermore, the Court relied

extensively on the Central District of California’s decision in In re Mannkind Secs. Actions, 835

F. Supp. 2d 797, to find that Plaintiff’s “not wholly illogical” (Dkt. 54, at 22) scienter allegations

were plausible, but recent intervening authority from the Ninth Circuit expressly rejected a


                                                    2
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 7 of 17




theory of scienter essentially identical to Plaintiff’s here. Nguyen, 2020 WL 3069776. When

analyzed under the required standard, Plaintiff’s theory of scienter, which the Court found

merely “plausible,” is neither cogent nor compelling, a further independent ground for dismissal.

       For any of these reasons, the Court should reconsider its ruling and dismiss this case.

                                          ARGUMENT

       A motion for reconsideration should be granted when the moving party identifies “an

intervening change of controlling law, the availability of new evidence, or the need to correct a

clear error or prevent manifest injustice.” Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL

Irrevocable Trust, 729 F.3d 99, 104 (2d Cir. 2013). Here, there are multiple instances of clear

error, each of which provides grounds for reconsideration, as well as intervening authority from

the Ninth Circuit that rejects the scienter theory in In re Mannkind Secs. Actions, 835 F. Supp. 2d

797, cited in the Order. First, the Order applied an incorrect standard in determining whether

Plaintiff adequately pled a false statement, mistakenly relying on a case about reliance. Second,

the Order disregarded Second Circuit authority holding that Plaintiff’s theory of motive is

insufficient as a matter of law to plead scienter. Finally, the Order incorrectly applied a lower,

“plausibility” standard for pleading scienter rather than the heightened “cogent and compelling”

inference standard required by the Supreme Court and the PSLRA. Correction of any one of

these errors supports dismissal of the SAC.

I.     THE ORDER APPLIES THE WRONG STANDARD FOR ASSESSING FALSITY
       AND IGNORES CONTROLLING LAW

       The Court held that Plaintiff adequately pled falsity based on a finding that the

challenged statements were ambiguous. But ambiguity does not suffice to plead falsity. Plaintiff

challenges Defendants’ statements that the FDA “agreed that additional clinical development is

not needed and stated that [Acer] may submit a 505(b)(2) NDA for EDSIVO” (SAC ¶¶ 106, 108,

                                                 3
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 8 of 17




112), claiming that the statements refer to an agreement to approve the EDSIVO NDA.

Defendants contend that the plain language of the challenged statements refers to submission of

the NDA, as the statements do not refer to approval. See Dkt. 54, at 15-16. The Court held that

“Defendants are correct that this context weighs in favor of construing the statements to be about

submission, not approval,” but nonetheless “construe[d] them as referring to EDSIVO approval”

for purposes of determining whether Plaintiff adequately pled a false statement, on the grounds

that the Court must resolve ambiguities in Plaintiff’s favor at this stage. Id. at 16-17.

       This was clear error. Not only did Plaintiff never allege in the SAC or argue in his

briefing that the challenged statements were ambiguous, but under the heightened pleading

standards of Rule 9(b) and the PSLRA, the Second Circuit has held that statements are false or

misleading only when, “taken together and in context, [they] would have misled a reasonable

investor.” Rombach, 355 F.3d at 172 n. 7 (emphasis added). This standard does not encompass

resolving alleged ambiguity in a plaintiff’s favor to find falsity, and the sole case the Court cited

in support of this novel proposition, Umbach v. Carrington Inv. Partners, 2009 WL 413346—a

case cited by neither party—does not hold otherwise.

       In Umbach, the District of Connecticut stated that ambiguity can be read in a plaintiff’s

favor to establish reliance. The Umbach court did not rule that ambiguity can establish falsity.

In Umbach, the court found that plaintiff “made sufficient allegations of misstatement” based on

allegations that defendants made a verbal representation, later confirmed in a side letter, about

amendments to a hedge fund partnership agreement, but failed to disclose that these amendments

would not apply in certain circumstances. Id. at *5. Defendants moved to dismiss on the

grounds that plaintiff could not have reasonably relied on the false verbal statement based on

Second Circuit precedent holding that sophisticated investors cannot claim reasonable reliance if


                                                  4
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 9 of 17




an agreement has an integration clause and does not contain the alleged misrepresentation. Id.

The court declined to dismiss on reliance grounds, holding that ambiguities in the partnership

agreement and side letter, read in plaintiff’s favor, prevented a finding that plaintiff could not

have relied on the alleged misrepresentation. Id. at *6. Umbach’s statement regarding reliance

does not support this Court’s holding that ambiguity in the challenged statement should be read

in Plaintiff’s favor in order to establish falsity. And Plaintiff himself cites no authority to support

this proposition.

       Consistent with the heightened pleading standards of Rule 9(b) and the PSLRA, courts

have found ambiguities to count against finding falsity. See, e.g., Smith v. Antares Pharma, Inc.,

No. 17-CA-8945(MAS)(DEA), 2019 WL 2785600, *9 (D.N.J. July 2, 2019) (“Because Plaintiff

relies on [confidential witness 1’s] allegations to show that Defendants’ statements were

materially false and misleading . . . the ambiguity of CW1’s allegations is significant in light of

the PSLRA’s high standard. The Court, therefore, must steeply discount CW1’s

allegations.”); Welgus v. TriNet Grp., Inc., No. 15-CV-03625(BLF), 2017 WL 6466264, at *14

(N.D. Cal. Dec. 18, 2017) (“Plaintiff’s argument that Defendants somehow ‘created ambiguity’

in their public statements, despite clear disclosures throughout the Class Period . . . is not

sufficient to satisfy Rule 9(b) or the PSLRA’s requirement that a plaintiff plead

contemporaneous and specific facts indicating why the challenged statements were false.”), aff’d,

765 F. App’x 239 (9th Cir. 2019); Kelly v. Elec. Arts, Inc., No. 13-CV-05837(SI), 2015 WL

1967233, at *7–8 (N.D. Cal. Apr. 30, 2015) (declining to find falsity where plaintiff’s

“allegations [did] not demonstrate that the [challenged statement] has any precise meaning”);

Lomingkit v. Apollo Educ. Grp. Inc., 275 F. Supp. 3d 1139, 1155 (D. Ariz. 2017) (holding that




                                                  5
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 10 of 17




plaintiff failed to adequately plead falsity of defendants’ statements regarding its “rollout” where

the term had no consistent definition and plaintiffs failed to allege one).

       Plaintiff’s entire falsity claim—indeed, his entire case—now rests on the Court’s finding

that ambiguity supports falsity, even where the statement’s context favors Defendants’ reading.

Plaintiff cited no authority in support of this proposition, and Umbach does not support it either.

Given its finding on context (Dkt. 54, at 16), the Court should construe the challenged statements

as about submission when assessing the element of falsity. And there is no doubt that a

statement about submission of the NDA is not false. Plaintiff does not so allege, and the

allegations in the SAC make clear that Defendants’ statements regarding submission were true:

Defendants submitted the NDA, and the FDA accepted it for filing and priority review, with no

further clinical studies. SAC ¶ 100. For that reason, the Court should reconsider its ruling and

dismiss the SAC for failure to plead falsity.

II.    THE ORDER ALSO APPLIES THE WRONG STANDARD FOR ASSESSING
       SCIENTER AND IGNORES CONTROLLING LAW

       A.      The Ruling that Plaintiff Adequately Pled Motive Based on Allegations of
               Defendants’ Need to Raise Capital is Clear Error

       The Court recognized that there were no insider stock sales “or any other evidence of

pecuniary gain by company insiders at shareholders’ expense.” (Dkt. 54, at 21 (quoting In re N.

Telecom Ltd. Secs. Litig., 116 F. Supp. 2d 446 (S.D.N.Y. 2000)).) But the Court nonetheless held

that Plaintiff adequately pled scienter based on allegations that Defendants were motivated to

commit fraud because Acer needed to raise capital to fund its operations and continue operating

as a going concern.

       This finding disregards a mountain of case law in this Circuit holding that allegations that

Defendants were motivated by a desire to continue operating as a going concern or to avoid

bankruptcy—to use the Court’s words, a desire to “survive” or to avoid “go[ing] belly up” or
                                                  6
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 11 of 17




“certain failure” (Dkt. 54 at 21)—are unequivocally insufficient to support an inference of

scienter:

               In re Elan Corp. Sec. Litig., 543 F. Supp. 2d 187, 216 (S.D.N.Y. 2008) (granting
                motion to dismiss suit against a biotechnology company, holding that “[a]ny
                corporation would be motivated to make a profit, to avoid bankruptcy, or to
                finance the successful launch of a promising product. . . . These allegations do not
                support an inference of scienter.”) (emphasis added);
               In re PXRE Grp., Ltd., Sec. Litig., 600 F. Supp. 2d 510, 532 (S.D.N.Y.), aff’d sub
                nom., Condra v. PXRE Grp. Ltd., 357 F. App’x 393 (2d Cir. 2009) (desire to
                “raise money that is ‘desperately needed’ or necessary ‘to protect the very
                survival’ of a company . . . is far too generalized (and generalizable) to allege the
                proper ‘concrete and personal’ benefit required by the Second Circuit.”)
                (emphasis added); id. (“‘[A] desire to raise much needed capital’ [is] amongst the
                broadest, most generalized, and most commonplace motives of corporate
                motivation for any action”) (citing In re Gilat Satellite Networks, Ltd., No. 02-
                CV-1510(CPS), 2005 WL 2277476, at *19 (E.D.N.Y. Sept. 19, 2005));
               Hawaii Structural Ironworkers Pension Trust Fund v. AMC Entm’t Holdings,
                Inc., 422 F. Supp. 3d 821, 849 (S.D.N.Y. 2019) (“Nor are Plaintiffs’ allegations
                that [defendants] believed a successful SPO was necessary to protect [defendant]
                from insolvency sufficient. To the contrary, the ‘need to attract investors in order
                to pay down debt accruing . . . is insufficient to demonstrate scienter because it is
                common to most for-profit companies.’”) (emphasis added);
               In re OSG Sec. Litig., 971 F. Supp. 2d 387, 408 (S.D.N.Y. 2013) (desire to
                complete a securities offering that was “critical to [the company’s] very survival”
                does not constitute “a legally sufficient motive for [defendants] to commit
                securities fraud”) (emphasis added);
               Gissin v. Endres, 739 F. Supp. 2d 488, 499 (S.D.N.Y. 2010) (despite company’s
                “‘crippling’ liquidity problem,” desire to complete a securities offering did not
                support inference of scienter);
               Coronel v. Quanta Capital Holdings Ltd., No. 07-CV-1405(RPP), 2009 WL
                174656, at *16 (S.D.N.Y. Jan. 26, 2009) (“[A] motive to maintain a financial
                rating to protect the viability of the Company is not sufficient, under the law of
                this Circuit, to establish a motive to commit fraud.”) (emphasis added).

       Instead of following this Circuit’s extensive authority, the Court cited a single case from

the Eastern District of Pennsylvania to support the proposition that “courts have found

allegations of motive adequate where the company’s [sic] needed to fundraise to survive.” Dkt.

54, at 21 (citing Frater v. Hemispherx Biopharma, Inc., 996 F. Supp. 2d 335, 350 (E.D. Pa.


                                                  7
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 12 of 17




2014)). Putting aside whether Frater itself even stands for the proposition that needing to raise

capital to ensure the company’s survival can alone support an inference of scienter,1 there is no

need to look outside the Second Circuit given the extensive authority described above.

Allegations of motives “generally possessed by most corporate directors and officers,” including

motives to avoid bankruptcy or continue operating as a going concern, are insufficient as a

matter of law to plead scienter. Kalnit v. Eichler, 264 F.3d 131, 139 (2d Cir. 2001). The SAC

contains no allegations of motive other than the alleged motive to raise capital to avoid

bankruptcy and continue operating as a going concern. Accordingly, Plaintiff has not adequately

pled motive to commit fraud.

        B.      The Order’s Reliance on a “Plausibility” Standard to Infer Scienter
                is Also Clear Error

        The Court declined to dismiss Plaintiff’s claims for failure to adequately plead scienter,

repeatedly stating that it found Plaintiff to have “plausibly” alleged scienter. See Dkt. 54, at 2

(“Skiadas has plausibly alleged . . . that Defendants deliberately or recklessly misled investors”);

id. at 19 (“Skiadas has plausibly alleged that Defendants acted with scienter.”); id. at 23

(“Skiadas has plausibly alleged that Defendants deliberately or recklessly misrepresented that the

FDA agreed that it would approve EDSIVO to keep the company afloat.”); id. (“Skiadas has

plausibly alleged a claim for securities fraud. . .”).


1
 Other factors in Frater that are not present here further supported the court’s finding that plaintiff had
adequately pled scienter. In Frater, shortly before making the alleged misstatements, defendants sold
29.5 million shares of stock via an equity distribution agreement, after which an individual defendant
persuaded the company’s board that the stock sales triggered a change-of-control provision in his
employment contract that led to him receiving a percentage of the stock sale proceeds as a bonus. The
court found sufficient allegations of scienter when considering the individual defendant’s change-in-
control provision that gave him “personal incentives relating to a stock sale in a way that departs from
executives’ typical compensation incentives” together with the timing of the misstatements to directly
coincide with the equity distribution agreement, and the fact that the company needed cash to finance an
additional clinical trial. Frater, 996 F. Supp. 2d at 350 (emphasis added). No such additional motives
were alleged here.
                                                     8
         Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 13 of 17




         This finding is directly contrary to United States Supreme Court authority, which holds:

         To qualify as “strong” within the intendment of [the PSLRA], we hold, an inference of
         scienter must be more than merely plausible or reasonable—it must be cogent and at
         least as compelling as any opposing inference of nonfraudulent intent.

Tellabs, 551 U.S. at 314 (emphasis added); see also S. Cherry Street, LLC v. Hennessee Grp.,

573 F.3d 98 (2d Cir. 2009) (“To meet the ‘strong inference’ standard, it is not sufficient to set

out ‘facts from which, if true, a reasonable person could infer that the defendant acted with the

required intent’ . . . Rather, . . . an inference of scienter . . . must be cogent and at least as

compelling as any opposing inference of nonfraudulent intent.”) (citing Tellabs, 551 U.S. at

314). The Order’s reliance on a “plausibility” standard for pleading scienter is inconsistent with

the PSLRA and controlling Supreme Court and Second Circuit precedent, and constitutes clear

error.

         The Order nowhere holds, nor could it given the allegations, that Plaintiff has pled

particular, or indeed any, facts that give rise to a cogent and compelling inference of scienter.

Instead, the Order refers to a single case from the Central District of California that has never

been cited in this Circuit to find that statements about FDA approval are probative of scienter.

See Dkt. 54, at 20 (citing In re Mannkind Secs. Actions, 835 F. Supp. 2d 797). Apart from being

non-binding, the facts of Mannkind make plain why Plaintiff here has not adequately pled

scienter under the controlling standard.2



2
  The Order disregarded numerous other distinctions between this case and Mannkind on scienter raised in
Defendants’ motion to dismiss papers, including the fact that Mannkind had a specific incentive to
maintain its share price at above $6.50 per share due to its “unique financing arrangement” with a private
investment partner (835 F. Supp. 2d at 803); that Mannkind repeatedly changed its characterization of its
communications with the FDA during the course of litigation (id. at 809-10); and that the court found,
based on the fact that Mannkind had been sued for fraud and scientific misconduct in connection with the
data submitted to the FDA, that Mannkind had a “pattern of being less than forthright with its investors
concerning . . . the FDA approval process.” Id. at 818-19. There are no such allegations here that would
provide any basis for a strong inference of scienter.
                                                     9
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 14 of 17




       The Mannkind court found that the plaintiff had adequately pled scienter based on the

defendants’ repeated, clear, unambiguous statements that the FDA had approved and agreed to

the defendants’ methodology, including that the FDA had “blessed, vetted, approved, accepted,

and agreed to” the defendants’ study methodology. Id. at 809. Here, by contrast, the Court’s

determination on scienter was premised on the Court “assum[ing]” that Defendants’ ambiguous

statements referred to approval of the NDA. See Dkt. 54, at 19. As discussed above, ambiguity

is insufficient to plead falsity. It provides even less support for scienter, where plaintiffs must

plead a cogent and compelling inference.

       Indeed, under the PSLRA’s heighted pleading standard and Supreme Court and Second

Circuit precedent, “ambiguities count against inferring scienter.” Tellabs, 551 U.S. at 326

(emphasis added). See also Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital

Inc., 531 F.3d 190, 194 (2d Cir. 2008) (“While we normally draw reasonable inferences in the

non-movant’s favor on a motion to dismiss . . . the PSLRA, which governs scienter pleading in

securities fraud actions, establishes a more stringent rule for inferences involving scienter.”);

Campaniello Imports, Ltd. v. Saporiti Italia S.p.A., 117 F.3d 655, 664 (2d Cir. 1997) (“Given the

ambiguous nature . . . of each of the three factual assertions, the allegations, even taken together,

are insufficient to raise a strong inference of fraudulent intent.”); In re Avon Sec. Litig., No. 91-

CV-2287(LMM), 2004 WL 3761563, at *12 n.18 (S.D.N.Y. Mar. 29, 2004) (dismissing claim

for market manipulation in violation of Rule 10b-5 in connection with ambiguous offering

circular, noting that “any claim based on the fact of ambiguity would fail on the ground of lack

of scienter”). Accordingly, under the appropriate pleading standard, this Court’s finding that

“Defendants’ statements about what the FDA ‘agreed to’ are ambiguous” itself supports a

finding that Plaintiff has not adequately pled scienter. Dkt. 54, at 19.


                                                  10
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 15 of 17




       Moreover, just three weeks ago, the Ninth Circuit (the same Circuit in which Mannkind

was decided) affirmed dismissal with prejudice of a securities fraud class action against a

biotechnology company on scienter grounds for the same reasons this case should be dismissed.

See Nguyen, 2020 WL 3069776. Notably, the Ninth Circuit did not even mention Mannkind in

Nguyen, let alone cite to it as authority. In Nguyen, like here, the plaintiff alleged that the

defendants knew the FDA would not approve the medical device application in question because

of alleged flaws in the clinical trials, but lied to the market to say otherwise. The challenged

statements in Nguyen were far more definitive than those in this case, with the defendants

allegedly expressly stating that FDA approval of the device was expected on a specified timeline.

Yet the Ninth Circuit held that the proffered theory of scienter was implausible, particularly

given the absence of stock sales or other evidence of personal financial gain to the individual

defendants:

       These allegations encounter an immediate first-level problem: why would defendants
       promise the market that the FDA would approve Nellix if defendants knew the FDA
       would eventually figure out that Nellix could not be approved . . . The theory does not
       make a whole lot of sense. It depends on the supposition that defendants would rather
       keep the stock price high for a time and then face the inevitable fallout once Nellix’s
       “unsolvable” migration problem was revealed. If defendants had sought to profit from
       this scheme in the interim, such as by selling off their stock or selling the company at a
       premium, the theory might have more legs. There are no factual allegations like that
       here. Instead we are asked to accept the theory that defendants were promising FDA
       approval for a medical device application they knew was “unapprovable,” misleading the
       market all the way up to the point that defendants were ”unable to avoid the
       inevitable.” The allegation does not resonate in common experience. And the PSLRA
       neither allows nor requires us to check our disbelief at the door.

Id. at *8 (emphasis added).

       Similarly here, the Court is asked to accept the theory that Defendants promised FDA

approval for a drug they knew would not be approved, in order to raise capital in the short term

and face the inevitable fallout once it became apparent that the FDA had never agreed to approve

the NDA. Leaving aside the fact that “not wholly illogical” (see Dkt. 54, at 22-23) is not the
                                                  11
        Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 16 of 17




standard by which to measure the adequacy of scienter allegations, Nguyen and numerous cases

in this Circuit show why the theory Plaintiff asserts in the SAC is in fact not even plausible, let

alone cogent or compelling. See, e.g., Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124 (2d Cir.

1994) (“In looking for a sufficient allegation of motive, we assume that the defendant is acting in

his or her informed economic self-interest. It is hard to see what benefits accrue from a short

respite from an inevitable day of reckoning.”); In re Loral Space & Commc’ns Ltd. Sec. Litig.,

No. 01-CV-4388(JGK), 2004 WL 376442, at *7 (S.D.N.Y. Feb. 27, 2004) (“[T]he plaintiffs’

argument that [defendant] was motivated to engage in fraud to protect his professional

reputation—when there was substantial risk that any such fraud would eventually be disclosed—

is, at the very least, strained.”); see also Nguyen, 2020 WL 3069776, at 4 (finding implausible

the allegation that “the company was quixotically seeking FDA approval for a medical device

application it knew was destined for defeat”).

       And it is certainly not “at least as likely” as the opposing inference that Defendants

sincerely believed that the EDSIVO NDA would be approved and were acting accordingly.

Tellabs, 551 U.S. at 328. See also Gillis v. QRX Pharma Ltd., 197 F. Supp. 3d 557, 600

(S.D.N.Y. 2016) (finding “implausible” an alleged scheme in which defendant pharmaceutical

company “continued to invest substantial time and resources in clinical studies and NDA

submissions that it knew were doomed to fail, all the while misrepresenting to the public that

approval was likely”). Here, as the allegations in the SAC themselves make clear, Defendants

spent significant time and resources to hire personnel and prepare for a commercial launch of

EDSIVO, hardly the actions of a company that knew its drug would not be approved. SAC ¶¶

37, 94-99; see also Dkt. 50, at 20.




                                                 12
       Case 1:19-cv-06137-GHW Document 59 Filed 07/01/20 Page 17 of 17




                                        CONCLUSION

       The Order applied clearly erroneous standards for the pleading of falsity and scienter, and

relied on irrelevant, non-binding case law while disregarding controlling law. Correction of any

one of these errors should result in dismissal of the SAC. Accordingly, Defendants respectfully

request that the Court reconsider the June 16, 2020 Order to the extent it denied Defendants’

Motion to Dismiss the Second Amended Complaint.

 Dated: New York, New York                          MORRISON & FOERSTER LLP
       July 1, 2020
                                                    By: /s/ Jamie A. Levitt
                                                       Jamie A. Levitt
                                                       Lauren M. Gambier
                                                       250 West 55th Street
                                                       New York, New York 10019
                                                       Telephone: (212) 468-8000
                                                       Facsimile: (212) 468-7900
                                                       Email: JLevitt@mofo.com
                                                              LGambier@mofo.com

                                                       Jordan Eth (admitted pro hac vice)
                                                       425 Market Street
                                                       San Francisco, California 94105
                                                       Telephone: (415) 268-7000
                                                       Facsimile: (415) 268-7522
                                                       Email: JEth@mofo.com

                                                        Attorneys for Defendants Acer Therapeutics
                                                        Inc., Chris Schelling, and Harry Palmin




                                               13
